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11
                          UNITED STATES DISTRICT COURT
12
                        CENTRAL DISTRICT OF CALIFORNIA
13
     IN RE: NATIONAL FOOTBALL                Case No. 2:15-ml-02668-PSG (JEMx)
14   LEAGUE’S “SUNDAY TICKET”
     ANTITRUST LITIGATION
15                                           DECLARATION OF FARHAD
     THIS DOCUMENT RELATES TO                MIRZADEH IN SUPPORT OF
16   ALL ACTIONS                             PLAINTIFFS’ MOTION TO
                                             COMPEL PRODUCTION OF
17                                           DIRECTV’S PRIVILEGE LOG
18                                           MAGISTRATE JUDGE: Hon. John E.
                                             McDermott
19                                           DATE: November 11, 2022
                                             TIME: 10:30 a.m.
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 1          I, Farhad Mirzadeh, declare under penalty of perjury that the following is true
 2   and correct:
 3          1.      I am over the age of twenty-one (21) years and am an associate at
 4   Hausfeld LLP. I am counsel of record for Plaintiffs Ninth Inning, Inc., 1465 Third
 5   Avenue Restaurant Corp., Robert Gary Lippincott, Jr., and Jonathan Frantz in the
 6   above-captioned litigation. I submit this declaration in support of Plaintiffs’ Motion
 7   to Compel Production of Documents on DIRECTV’s Privilege Log.
 8          2.      I am competent to testify to the matters stated herein, have personal
 9   knowledge of the facts and statements in this declaration, and each of the facts and
10   statements is true and correct to the best of my knowledge.
11          3.      Attached as Exhibit 1 is a true and correct copy of the Court’s
12   scheduling order in this case pursuant to Local Civil Rule 37-2. Exhibit 1 is a true
13   and correct copy of the Court’s Order filed on January 12, 2021. See Dkt. No. 294.
14          4.      Attached hereto as Exhibit 2 is a true and correct copy of the Court’s
15   amended scheduling order filed on November 29, 2021, Dkt. No. 363.
16          5.      Attached hereto as Exhibit 3 is a true and correct copy of the Court’s
17   second amended scheduling order filed on March 15, 2022, Dkt. No. 434.
18          6.      Attached hereto as Exhibit 4 is a true and correct copy of the Court’s
19   Order of August 11, 2022, permitting Plaintiffs to take limited discovery after the
20   deadline for fact discovery, including the “filing, adjudication, and potential
21   enforcement of motions for NFL Defendants and/or DirecTV to compel documents
22   that Plaintiffs contend were improperly withheld on privilege grounds.” Dkt. No.
23   607.
24          7.      Attached hereto as Exhibit 5 is a true and correct copy of the Court’s
25   Order modifying the scheduling order filed on September 29, 2022, Dkt. No. 652.
26          8.      Attached as Exhibit 6 is a true and correct copy of DIRECTV’s
27   Privilege Log noting Plaintiffs’ challenges in column P through column T.
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 1           9.    On February 18, 2022, DIRECTV issued is privilege log containing
 2   nearly 30,000 entries. A true and correct copy of Plaintiffs’ Local Rule 37-1 Letter
 3   sent to DIRECTV on March 22, 2022 is attached as Exhibit 7.
 4           10.   Attached as Exhibit 8 is a true and correct copy of a letter from Jeffrey
 5   A. N. Kopczynski to Farhad Mirzadeh dated April 8, 2022.
 6           11.   Attached as Exhibit 9 is a true and correct copy of the affiliation list
 7   provided by DIRECTV dated April 29, 2022.
 8           12.   Attached as Exhibit 10 is a true and correct copy of Plaintiffs’ Local
 9   Rule 37-1 Letter to DIRECTV dated July 8, 2022.
10           13.   Attached as Exhibit 11 is a true and correct copy of a letter from
11   Jeffrey A. N. Kopczynski to Sathya Gosselin and Farhad Mirzadeh dated July 15,
12   2022.
13           14.   Attached as Exhibit 12 is a true and correct copy of an email sent from
14   Farhad Mirzadeh to Jeffery A. N. Kopczynski dated May 6, 2022.
15           15.   Attached as Exhibit 13 is a true and correct copy of a cover letter from
16   Jeffrey A. N. Kopczynski to Farhad Mirzadeh dated May 16, 2022.
17           16.   Attached as Exhibit 14 is a true and correct copy of an email chain
18   between Plaintiffs’ counsel and counsel for DIRECTV, containing email messages
19   dated May 6, 2022, May 16, 2022, May 18, 2022, and May 19, 2022, and May 23,
20   2022.
21           17.   Attached as Exhibit 15 is a true and correct copy of a cover email from
22   Monsura Sirajee to Farhad Mirzadeh dated June 6, 2022 and containing
23   DIRECTV’s revised privilege log.
24           18.   Attached as Exhibit 16 is a true and correct copy of an email from
25   Farhad Mirzadeh to Jeffrey A. N. Kopczynski and Monsura Sirajee dated July 26,
26   2022.
27           19.   Attached as Exhibit 17 is a true and correct copy of an email from
28   Farhad Mirzadeh to Monsura Sirajee and Jeffrey A. N. Kopczynski dated August 5,
     2022.
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 1         20.    On September 22, 2022, DIRECTV made a production of documents
 2   that it previously withheld. Attached as Exhibit 18 is a true and correct copy of a
 3   cover letter from Jeffrey A. N. Kopczynski to Farhad Mirzadeh dated September
 4   22, 2022.
 5         21.    Exhibit 19 is a true and correct copy of an email from Jeffrey A. N.
 6   Kopczynski to Farhad Mirzadeh dated September 9, 2022.
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 8   I declare under penalty of perjury under the laws of the United States of America
 9   that the foregoing is true and correct.
10         Signed this 14th day of October in Washington, D.C.
11
                                                   /s/ Farhad Mirzadeh
12                                                 Farhad Mirzadeh
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